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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

IRISBELSY ANTONIO VALDEZ                           §
MOLINA, et al.,                                    §
                                                   §
        Plaintiffs,                                §
                                                   §
v.                                                 §        Civil Action No. 4:24-cv-00593-O
                                                   §
JEFF BRADY, et al.,                                §
                                                   §
        Defendants.                                §

                            MEMORANDUM OPINION & ORDER

        Before the Court are Defendant Jeff Brady’s Motion to Dismiss (ECF No. 17),

Plaintiff’s1 Response (ECF No. 25), and Defendant Jeff Brady’s Reply (ECF No. 30). Also

before the Court are Defendant Brisie Leon’s Motion to Dismiss (ECF No. 21), Plaintiff’s

Response (ECF No. 27), and Defendant Brisie Leon’s Reply (ECF No. 29). Having reviewed the

briefing and applicable law, the Court determines that the Motions should be GRANTED.

I.      BACKGROUND2

        On June 29, 2022, Fort Worth police responded to a 911 call indicating that Alejandro

Molina Cornelio (“Alejandro”) was attempting to get into his sister’s home where his wife and

other family members were located. The caller, presumably one of Alejandro’s family members,

reported that Alejandro had a gun. There was no report that he discharged the gun. Before

officers arrived on the scene, Alejandro fled in his truck. Officers located his truck and attempted

a traffic stop, but Alejandro refused to pull over.

1
  “Plaintiff” in this Order refers to Irisbelsy Antonio Valdez Molina, who brings this wrongful death
action on behalf of her children and this survival action on behalf of her late husband’s estate (the
collective plaintiffs).
2
  The Court’s recitation of the facts is taken from Plaintiff’s Complaint. See Compl., ECF No. 1. At the
12(b)(6) stage, these facts are taken as true and viewed in the light most favorable to the Plaintiff. See
Sonnier v. State Farm Mut. Auto. Ins., 509 F.3d 673, 675 (5th Cir. 2007).
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        A vehicular pursuit began, as Alejandro drove back toward the house where officers had

been dispatched. To prevent Alejandro from returning to his sister’s home, officers used their

vehicles to set up a blockade in the street. As Alejandro approached the blockade, Fort Worth

Police Officer Crawford rammed Alejandro’s truck with his own vehicle. This resulted in

Alejandro’s truck spinning and coming to a stop in the street.

        After Alejandro’s truck came to a stop, Fort Worth Police Officers Jeff Brady (“Sergeant

Brady”) and Brisie Leon (“Officer Leon”) (collectively, “Defendants”) each fired their

department-issued firearms at Alejandro, striking him. Defendants were standing behind the

protection of a patrol vehicle and not in the pathway of Alejandro’s truck when they fired these

shots. Alejandro did not reach for his gun, accelerate his vehicle, rev his engine, or turn the tires

of his vehicle before Defendants fired. Nor did he verbally threaten officers or attempt to flee or

exit his vehicle.

        Alejandro died as a result of these gunshots on July 5, 2022. Alejandro’s wife, Irisbelsy

Antonio Valdez Molina (“Plaintiff”), now files this lawsuit against Sergeant Brady and Officer

Leon on behalf of herself, their seven children, and Alejandro’s estate. Relevant to this Motion,

Plaintiff brings a § 1983 claim against Defendants in their individual capacities for excessive

force in violation of the Fourth Amendment. Defendants move to dismiss the Complaint under

Federal Rule of Civil Procedure 12(b)(6) on the basis of qualified immunity, among other

reasons.

II.     LEGAL STANDARDS

        A. Rule 12(b)(6) Motion to Dismiss

        Federal Rule of Civil Procedure 8 requires that a complaint contain “a short and plain

statement of the claim showing that the pleader is entitled to relief.” FED. R. CIV. P. 8(a)(2). The


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Rule “does not require ‘detailed factual allegations,’ but it demands more than an unadorned,

the-defendant-unlawfully-harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)). If a plaintiff fails to satisfy this

standard, the defendant may file a motion to dismiss under Rule 12(b)(6) for “failure to state a

claim upon which relief can be granted.” FED. R. CIV. P. 12(b)(6).

        To survive a motion to dismiss under Rule 12(b)(6), a plaintiff must plead “enough facts

to state a claim to relief that is plausible on its face.” Twombly, 550 U.S. at 570. “A claim has

facial plausibility when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S.

at 678. “The plausibility standard is not akin to a ‘probability requirement,’ but it asks for more

than a sheer possibility that a defendant has acted unlawfully.” Id. (quoting Twombly, 550 U.S.

at 556). A court may not accept legal conclusions as true, but when well-pleaded factual

allegations are present, a court assumes their veracity and then determines whether they plausibly

give rise to an entitlement to relief. Id. at 678–79.

        B. Qualified Immunity

        The doctrine of qualified immunity protects government officials sued under

42 U.S.C. § 1983 “from liability for civil damages insofar as their conduct does not violate

clearly established statutory or constitutional rights of which a reasonable person would have

known.” Pearson v. Callahan, 555 U.S. 223, 231 (2009) (citing Harlow v. Fitzgerald, 457 U.S.

800, 818 (1982)). “Qualified immunity balances two important interests—the need to hold public

officials accountable when they exercise power irresponsibly and the need to shield officials

from harassment, distraction, and liability when they perform their duties reasonably.” Id. This




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doctrine protects “all but the plainly incompetent or those who knowingly violate the law.”

Malley v. Briggs, 475 U.S. 335, 341 (1986).

       Deciding whether an official is entitled to qualified immunity requires a court to apply

the two-pronged analysis established in Saucier v. Katz, 533 U.S. 194, 201 (2001). The first

prong of the Saucier analysis asks whether the facts alleged or shown are sufficient to make out a

violation of a constitutional or federal statutory right. Id. at 201. The second prong asks whether

that right was clearly established at the time of the government official’s alleged misconduct. Id.

“The sine qua non of the clearly-established inquiry is ‘fair warning.’” Morgan v. Swanson, 659

F.3d 359, 372 (5th Cir. 2011) (quoting Hope v. Pelzer, 536 U.S. 730, 741 (2002)).

       “To surmount [the qualified immunity] barrier at the motion to dismiss stage, the

plaintiff[] must plead specific facts that both allow the court to draw the reasonable inference

that the defendant is liable for the harm alleged and that defeat a qualified immunity defense with

equal specificity.” Torns v. City of Jackson, 622 Fed. App’x 414, 416 (5th Cir. 2015) (cleaned

up). Once an officer “raises the defense of qualified immunity, the plaintiff bears the burden of

showing the defense does not apply.” Bryant v. Gillem, 965 F.3d 387, 391 (5th Cir. 2020).

       C. Fourth Amendment Excessive Force

       “To establish a claim of excessive force under the Fourth Amendment, [a plaintiff] must

demonstrate: (1) injury, (2) which resulted directly and only from a use of force that was clearly

excessive, and (3) the excessiveness of which was clearly unreasonable.” Deville v. Marcantel,

567 F.3d 156, 167 (5th Cir. 2009) (citation and quotation marks omitted).

       The test of reasonableness “requires careful attention to the facts and circumstances of

each particular case, including the severity of the crime at issue, whether the suspect poses an

immediate threat to the safety of the officers or others, and whether he is actively resisting arrest


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or attempting to evade arrest by flight.” Graham v. Connor, 490 U.S. 386, 396 (1989). “Officers

may consider a suspect’s refusal to comply with instructions during a traffic stop in assessing

whether physical force is needed to effectuate the suspect’s compliance.” Deville, 567 F.3d

at 167 (citations omitted). “However, officers must assess not only the need for force, but also

the relationship between the need and the amount of force used.” Id. (internal quotation marks

and citation omitted).

       Claims that law enforcement unreasonably utilized deadly force are treated as a special

subset of excessive force claims. Gutierrez v. City of San Antonio, 139 F.3d 441, 446 (5th

Cir. 1998). “[G]uns represent the paradigmatic example of ‘deadly force.’” Id. “[I]n Garner, the

Supreme Court held that police use of ‘deadly force’ violates the Fourth Amendment unless ‘the

officer has probable cause to believe that the suspect poses a threat of serious physical harm,

either to the officer or to others[.]’” Id. (quoting Tennessee v. Garner, 471 U.S. 1, 11 (1985)).

III.   ANALYSIS

       A. Qualified Immunity: Constitutional Violation

       Plaintiff brings a § 1983 claim against Defendants in their individual capacities for

excessive force in violation of the Fourth Amendment.3 Plaintiff argues that the facts do not

establish that Alejandro was “a threat of serious physical harm,” because when Defendants fired

at Alejandro, (1) “he had not reached for a weapon or made any movements that could have been

believed to be him reaching for a weapon;” (2) he “had not accelerated his vehicle, revved his

engine to indicate it was going to move, or even turn[ed] the tires of his stationary vehicle;” and

(3) Defendants “were standing safely behind a police SUV.”4 Id. Defendants counter that their



3
  Pls.’ Original Compl. ¶¶ 48–75, ECF No. 1. The Court does not evaluate Defendants’ conduct separately
because at this stage, there are no facts separating their conduct.
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  Pl.’s Resp. to Def. Jeff Brady’s Mot. Dismiss 13–14, ECF No. 25.
                                                  5
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use of deadly force was justified, because all the preceding circumstances informed their

perception that Alejandro was armed and dangerous.5

        The Court agrees with Defendants. Applying the three Graham factors, it is plausible that

Defendants had “probable cause to believe that [Alejandro] pose[d] a threat of serious physical

harm.” Garner, 471 U.S. at 11. As to the first Graham factor, “the severity of the crime at issue,”

Alejandro threatened to break into his family’s home with a gun and led police on a chase that

was sufficiently serious to involve at least several officers and a blockade.6 490 U.S. at 396. The

Supreme Court has “never found the use of deadly force in connection with a dangerous car

chase to violate the Fourth Amendment.” Mullenix v. Luna, 577 U.S. 7, 15 (2015).

        As to the second Graham factor, “whether the suspect poses an immediate threat to the

safety of the officers or others,” the material fact is that Alejandro was armed.7 490 U.S. at 396.

Although Officer Crawford had already subdued Alejandro’s vehicle, Defendants could not have

known whether Alejandro was likewise subdued. Given this uncertainty and that Alejandro was

armed, it was reasonable for Defendants to preemptively use deadly force. See Mullenix, 577

U.S. at 17 (“[T]he law does not require officers in a tense and dangerous situation to wait until

the moment a suspect uses a deadly weapon to act to stop the suspect.” (quoting Long v. Slaton,

508 F.3d 576, 581–82 (2007))); see also Graham, 490 U.S. at 396–97 (“The calculus of

reasonableness must embody allowance for the fact that police officers are often forced to make

split-second judgments—in circumstances that are tense, uncertain, and rapidly evolving—about

the amount of force that is necessary in a particular situation.”).



5
  Def. Sgt. Brady’s Mot. & Br. Dismiss 5–10, ECF No. 17; Def. Brisie Leon’s Mot. Dismiss 11–13, ECF
No. 21.
6
  Pls.’ Original Compl. ¶¶ 16–22, ECF No. 1.
7
  See Pl.’s Resp. to Def. Jeff Brady’s Mot. Dismiss 14, ECF No. 25 (admitting “[t]he fact that Alejandro
was armed”).
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        As to the third Graham factor, “whether [the suspect] is actively resisting arrest or

attempting to evade arrest by flight,” the Fifth Circuit does not literally require that the suspect

be actively resisting. 490 U.S. at 396; see Salazar v. Molina, 37 F.4th 278, 284 (5th Cir. 2022)

(finding the third Graham factor was satisfied where the suspect, even though he surrendered

before the officer applied force, “had just spent five minutes attempting to evade arrest by flight

in a highly dangerous manner” (internal quotation marks and citation omitted)). Revisiting its

own opinion in Lytle v. Bexar County, the Fifth Circuit in Salazar said: “Lytle reaffirmed that the

relevant ‘justification for the use of force’ is the officer’s reasonable perception of a threat of

harm. And this does not always require that a suspect be actively resisting, fleeing, or attacking

an officer at the precise moment force is used.”8 37 F.4th at 283 (internal citation omitted).

“Instead, the relevant inquiry is whether the officer used a justifiable level of force in light of the

continuing threat of harm that a reasonable officer could perceive.” Id. (emphasis added).

        Applying this standard, the Court concludes that it was reasonable for Defendants to

perceive a continuing threat of harm and react with deadly force, where Alejandro (1) was armed

and could have fired at officers,9 and (2) had already shown himself to be dangerous and non-

compliant, after attempting to break into his family’s home with a gun and leading officers on a

vehicle chase.10 Plaintiff argues that Alejandro would have had to make some furtive gesture

with his gun to justify Defendants’ use of deadly force.11 But given all the circumstances,




8
   Although Salazar is factually distinct because it concerns an officer’s use of intermediate force (a stun
gun), its characterization of the Fifth Circuit’s deadly force precedent is relevant here.
9
  This is not the Court’s inference, but Defendants’ own belief. See, e.g., Def. Brisie Leon’s Mot. Dismiss
11, ECF No. 21; Def. Officer Leon’s Reply Br. 6, ECF No. 29.
10
   Pls.’ Original Compl. ¶¶ 16–22, ECF No. 1.
11
   Pl.’s Resp. to Def. Jeff Brady’s Mot. Dismiss 14–16, 24–27, ECF No. 25.
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Defendants were not required to take a “wait-and-see” approach.12 See Mullenix, 577 U.S. at 17;

see also Graham, 490 U.S. at 396–97.

       For the foregoing reasons, Defendants had “probable cause to believe that [Alejandro]

pose[d] a threat of serious physical harm,” and thus no constitutional violation occurred.13

Garner, 471 U.S. at 11.

       B. Qualified Immunity: Clearly Established Law

       Even if Plaintiff could establish a constitutional violation, she cannot successfully allege

that the right was clearly established at the time of the violation. See Rivas-Villegas v.

Cortesluna, 595 U.S. 1, 6 (2021) (per curiam) (recognizing that it is a plaintiff’s burden to

“identify a case that put[s] [an officer] on notice that his specific conduct was unlawful”).

       “[T]he Supreme Court has repeatedly instructed that clearly established law is not to be

defined at a high level of generality. This is particularly true in recent years.” Tucker v. City of

Shreveport, 998 F.3d 165, 173 (5th Cir. 2021). In Mullenix, the Supreme Court emphasized that

“[t]he relevant inquiry is whether existing precedent placed the conclusion that [officers] acted

unreasonably in these circumstances ‘beyond debate.’” 577 U.S. at 13–14 (quoting Ashcroft v.

al-Kidd, 563 U.S. 731, 741 (2011)). There, the Court concluded that “[c]ases decided by the

lower courts . . . have not clearly established that deadly force is inappropriate in response to

conduct like [the suspect’s].” Id. at 16. Finding no precedent that “squarely govern[ed],” the

Court explained that “qualified immunity protects actions in the hazy border between excessive

and acceptable force.” Id. at 15, 18 (internal quotation marks and citation omitted). “Such

specificity is especially important in the Fourth Amendment context, where the [Supreme] Court


12
  Infra Section B.
13
  For the same reasons, the Court rejects Plaintiff’s argument that this is an “obvious” case. See Pl.’s
Resp. to Def. Jeff Brady’s Mot. Dismiss 27–29, ECF No. 25; Pl.’s Resp. to Def. Brisie Leon’s Mot.
Dismiss 40–42, ECF No. 27.
                                                   8
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has recognized that ‘[i]t is sometimes difficult for an officer to determine how the relevant legal

doctrine, here excessive force, will apply to the factual situation the officer confronts.’” Id. at 12

(second alteration in original) (quoting Saucier, 533 U.S. at 205).

        Plaintiff argues that because Alejandro’s vehicle was stationary at the time Defendants

fired at him, then cases where officers shot at vehicles “not heading in their direction” govern.14

But those cases are too dissimilar to clearly establish that Defendants’ conduct here was illegal.

In each of those cases, officers’ use of deadly force was unreasonable because the vehicle was

receding and the suspect inside the vehicle did not otherwise pose a sufficient threat of harm.15

See, e.g., Lytle, 560 F.3d at 412 (“It is unclear how firing at the back of a fleeing vehicle some

distance away was a reasonable method of addressing the threat.”); Edwards v. Oliver, 31 F.4th

925, 932 (5th Cir. 2022) (“[H]ere, . . . the car was moving away from Officer Gross when

[Officer] Oliver fired his shots.”); Flores v. City of Palacios, 381 F.3d 391, 399 (5th Cir. 2004)

(“Finally, and most critically, [the district court] found that [the officer] was already behind [the

suspect’s moving vehicle] when he shot it.”). But none involve the factual scenario presented

here of an armed and dangerous suspect, whose vehicle has just been forced to a stop in the

presence of officers.16

        The case that Plaintiff chiefly relies on is Lytle, in which an officer fired at the rear of a

receding vehicle, killing an occupant. 560 F.3d at 408. The Fifth Circuit held that a reasonable

14
   Pl.’s Resp. to Def. Jeff Brady’s Mot. Dismiss 18, 20–24, ECF No. 25 (citing Lytle, 560 F.3d at 409;
Flores v. City of Palacios, 381 F.3d 391, 399 (5th Cir. 2004); Edwards v. Oliver, 31 F.4th 925, 931–32
(5th Cir. 2022); Ramos v. Taylor, 646 F. Supp. 3d 807, 819–20 (W.D. Tex. 2022); Crane v. City of
Arlington, 50 F.4th 453, 467 (5th Cir. 2022)).
15
   The only case that Plaintiff cites involving a stationary vehicle is Crane. 50 F.4th at 467. But the
decision in Crane was issued after this incident occurred, and thus, Defendants would not have been on
notice of its propositions.
16
   Edwards and Flores both involve minors, ages fifteen and sixteen, respectively, who were either fleeing
a party where officers were called (Edwards, 31 F.4th at 927) or did not hear the officer’s cue to stop over
loud music in the car (Flores, 381 F.3d at 395). Neither case presents evidence that the minor suspect was
armed.
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jury could conclude that this constituted excessive force. Id. at 417. Although the fact of the

receding vehicle weighed heavily in the Court’s analysis, there are no facts in Lytle that the

suspect was carrying a gun. By contrast, here, Defendants knew that Alejandro, while armed

with a gun, had just attempted to break into his family’s home and then escaped in his vehicle.17

So, they had reason to perceive a “continuing threat” of harm even after the vehicle chase ended.

See Salazar, 37 F.4th at 283 (“[T]he relevant inquiry is whether the officer used a justifiable

level of force in light of the continuing threat of harm that a reasonable officer could perceive.”).

        Plaintiff concedes that Alejandro was armed but argues “the law is clear that just because

someone is in possession of a firearm, officers are not justified in shooting them dead without

there being some furtive action or gesture causing the officer to reasonably believe the suspect

may use the weapon.”18 Plaintiff cites to Cole v. Carson and Baker v. Putnal for this

proposition.19 See Cole v. Carson, 935 F.3d 444, 453 (5th Cir. 2019), as revised (Aug. 21, 2019)

(concluding that suicidal teenager who pointed gun at his own head “posed no threat to the

officers or others to support firing without warning”); Baker v. Putnal, 75 F.3d 190, 198 (5th

Cir. 1996) (denying summary judgment because of fact issues over whether the officer ever saw

the suspect holding a gun, and, if so, whether the suspect ever pointed the gun at the officer or

turned to face the officer).

        But those cases are not dispositive here, because they do not involve vehicle chases and

their attendant circumstances. When a suspect is armed but has not just engaged officers in a

drawn-out vehicle chase, and officers have less reason to know the suspect is a threat, then a

suspect’s dynamic movements while holding the gun are more relevant. In Baker, where an

officer was responding to gunshots at Galveston Beach, he was “gestured” towards a “truck

17
   Def. Sgt. Brady’s Mot. & Br. Dismiss 5, ECF No. 17; Def. Brisie Leon’s Mot. Dismiss 1, ECF No. 21.
18
   Pl.’s Resp. to Def. Jeff Brady’s Mot. Dismiss 14, ECF No. 25.
19
   Id. at 14–16, 24–27.
                                                 10
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parked on the beach,” which allegedly “contained the shooters.” 75 F.3d at 193. The officer fired

at an alleged suspect sitting in the vehicle, killing him, but his belief that the suspect posed a

deadly threat was questionable at best. Id. Similarly, in Cole, where officers on foot followed a

teenager “with his gun to his head, non-responsive, but without aggressive action,” the Fifth

Circuit decided it was obvious that officers should have warned the teenager before shooting

him. 935 F.3d at 453, 455.

       In vehicle-chase cases, however, a suspect’s non-compliance—via the vehicle chase—

and the rapidly-evolving circumstances necessarily inform an officer’s perception that a suspect

poses a continuing threat of harm. See Mullenix, 577 U.S. at 17 (“‘[C]onsidering the

unpredictability of [the suspect’s] behavior and his fleeing in a marked police cruiser,’ the court

held, ‘we think the police need not have taken that chance and hoped for the best.’” (first

alteration in original) (quoting Long, 508 F.3d at 583)); Salazar, 37 F.4th at 282 (“[W]hen a

suspect has put officers and bystanders in harm’s way to try to evade capture, it is reasonable for

officers to question whether the now-cornered suspect’s purported surrender is a ploy.”). These

cases do not serve to clearly establish the law in Plaintiff’s favor, as their propositions sooner

support Defendants’ perception that Alejandro posed a continuing threat.20

       Under the Supreme Court’s demanding standard, in which “existing precedent [must]

place[] the conclusion that [officers] acted unreasonably in these circumstances ‘beyond

debate,’” the Court concludes that on June 29, 2022, the law was not clearly established that

Defendants’ conduct was illegal. Mullenix, 577 U.S. at 13–14 (quoting al–Kidd, 563 U.S. at

741). Therefore, Defendants are entitled to qualified immunity.




20
  Salazar, however, being an intermediate-force case, does not bear on the reasonableness of the amount
of force used here.
                                                  11
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IV.   CONCLUSION

      For the foregoing reasons, the Court concludes that Defendants are entitled to qualified

immunity. Accordingly, the Court GRANTS Defendants’ Motions to Dismiss. Plaintiff’s claims

against Defendants are hereby DISMISSED with prejudice.

      SO ORDERED on this 4th day of April, 2025.



                                               _____________________________________
                                               Reed O’Connor
                                               UNITED STATES DISTRICT JUDGE




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